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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                         )       CHAPTER 13
JACQUELINE EVETTE HOLLAND                      )       CASE: A18-55621-WLH
                                               )
                                               )
                 DEBTOR                        )

           CHAPTER 13 TRUSTEE’S SUPPLEMENTAL OBJECTION TO
              CONFIRMATION AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                              1.

        The Debtor's payments under the proposed plan are not current, thus indicating that
this plan is not feasible. 11 U.S.C. Section 1325(a)(6).

                                              2.

       The plan as proposed will extend to two-hundred and ninety-one (291) months,
which exceeds the sixty (60) months allowed by 11 U.S.C. Section 1322(d).

                                              3.

       The Debtor has failed to file tax returns with the Internal Revenue Service for the
four (4) year period prior to filing in violation of 11 U.S.C. Section 1308. (2017)

                                              4.

       The Debtor has failed to provide to the Trustee a copy of the last tax return filed
with Internal Revenue Service in violation of 11 U.S.C. Section 521(e)(2)(A).

                                              5.

       The Chapter 13 Trustee requests proof of the post-petition mortgage payments in
the amount of $953.00 in order to determine feasibility of proposed plan pursuant to 11
U.S.C. 1325(a)(6).
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                                            6.

       The Chapter 13 Trustee requests proof of the post-petition homeowner’s
association payments in the amount of $121.00 or monthly savings for the payment in
order to determine feasibility of proposed plan pursuant to 11 U.S.C. 1325(a)(6).

                                            7.

       It appears the monthly expense for the Debtor's lease expense to Compass Self
Storage of $100.00 is less than reflected on the schedules. As such, Debtor is not
contributing all projected disposable income to the plan. 11 U.S.C. Section 1325(a)(3) and
U.S.C. Section 1325(b)(1)(B).

      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 19th day of July, 2018.
                                        Respectfully submitted,

                                        /s/__________________________________
                                        Maria C. Joyner
                                        Attorney for the Chapter 13 Trustee
                                        State Bar No. 118350
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                              CERTIFICATE OF SERVICE


Case No: A18-55621-WLH

This is to certify that I have this day served the following with a copy of the foregoing
Chapter 13 Trustee's Supplemental Objection To Confirmation And Motion To Dismiss
Case by depositing in the United States mail a copy of same in a properly addressed
envelope with adequate postage thereon.


Debtor(s)
JACQUELINE EVETTE HOLLAND
9893 VISTA CIRCLE
UNION CITY, GA 30291



By Consent of the parties, the following have received an electronic copy of the
foregoing Chapter 13 Trustee's Supplemental Objection To Confirmation And Motion To
Dismiss Case through the Court's Electronic Case Filing system.

Debtor(s) Attorney:
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 19th day of July, 2018.


/s/__________________________________
Maria C. Joyner
Attorney for the Chapter 13 Trustee
State Bar No. 118350
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
